     Case 2:22-cr-00394-DMG Document 52-1 Filed 01/17/23 Page 1 of 3 Page ID #:268



1    E. MARTIN ESTRADA
     United States Attorney
2    Mack E. Jenkins
     Assistant United States Attorney
3    Chief, Criminal Division
     JEFF MITCHELL (Cal. Bar No. 236225)
4    Assistant United States Attorney
     Major Frauds Section
5    DAN G. BOYLE (Cal. Bar No. 332518)
     Assistant United States Attorney
6    Asset Forfeiture & Recovery Section
          1100 United States Courthouse
7         312 North Spring Street
          Los Angeles, California 90012
8         Telephone: (213) 894-0698/2426
          Facsimile: (213) 894-6269/0141
9         E-mail:    jeff.mitchell@usdoj.gov
                     daniel.boyle2@usdoj.gov
10
     Attorneys for Plaintiff
11   UNITED STATES OF AMERICA
12                           UNITED STATES DISTRICT COURT
13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
14   UNITED STATES OF AMERICA,                No. CR 22-394-DMG

15              Plaintiff,                    [PROPOSED] ORDER CONTINUING TRIAL
                                              DATE AND FINDINGS REGARDING
16                    v.                      EXCLUDABLE TIME PERIODS PURSUANT
                                              TO SPEEDY TRIAL ACT
17   YASIEL PUIG VALDES,
                                              [PROPOSED] TRIAL DATE: [4-25-23]
18              Defendant.
                                              [PROPOSED] STATUS CONF.: [4-12-23]
19

20

21         The Court has read and considered the Stipulation Regarding
22   Request for (1) Continuance of Trial Date and (2) Findings of
23   Excludable Time Periods Pursuant to Speedy Trial Act, filed by the
24   parties in this matter on January 17, 2023.          The Court hereby finds
25   that the Stipulation, which this Court incorporates by reference into
26   this Order, demonstrates facts that support a continuance of the
27   trial date in this matter, and provides good cause for a finding of
28   excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.
     Case 2:22-cr-00394-DMG Document 52-1 Filed 01/17/23 Page 2 of 3 Page ID #:269



1          The Court further finds that:       (i) the ends of justice served by

2    the continuance outweigh the best interest of the public and

3    defendant in a speedy trial; (ii) failure to grant the continuance

4    would be likely to make a continuation of the proceeding impossible,

5    or result in a miscarriage of justice; and (iii) the case is so

6    unusual and so complex, due to the nature of the investigation, the

7    unique procedural history, the possibility of additional charges, and

8    the voluminous discovery, that it is unreasonable to expect

9    preparation for pre-trial proceedings or for the trial itself within
10   the time limits established by the Speedy Trial Act; and (iv) failure
11   to grant the continuance would unreasonably deny defendant continuity
12   of counsel and would deny defense counsel the reasonable time
13   necessary for effective preparation, taking into account the exercise
14   of due diligence.
15         THEREFORE, FOR GOOD CAUSE SHOWN:
16         1.    The trial in this matter is continued from February 14,
17   2023, to April 25, 2023.      The status conference hearing is continued
18   to April 12, 2023, at 2:00pm.

19         2.    The time period of February 14, 2023, to April 25, 2023,

20   inclusive, is excluded in computing the time within which the trial

21   must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i),

22   and (h)(7)(B)(ii).

23         3.    Defendant shall appear in Courtroom 8C of the Federal

24   Courthouse, 350 W. 1st Street, Los Angeles, California on February

25   14, 2023, at 8:30am.

26         4.    Nothing in this Order shall preclude a finding that other

27   provisions of the Speedy Trial Act dictate that additional time

28   periods are excluded from the period within which trial must

                                           2
     Case 2:22-cr-00394-DMG Document 52-1 Filed 01/17/23 Page 3 of 3 Page ID #:270



1    commence.    Moreover, the same provisions and/or other provisions of

2    the Speedy Trial Act may in the future authorize the exclusion of

3    additional time periods from the period within which trial must

4    commence.

5          IT IS SO ORDERED.

6

7
       DATE                                    HONORABLE DOLLY M. GEE
8                                              UNITED STATES DISTRICT JUDGE
9
10

11   Presented by:
12        /s/ Jeff Mitchell
      JEFF MITCHELL
13    Assistant United States Attorney
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                           3
